             Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 1 of 34 Page ID #:887


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                   9
                                             UNITED STATES DISTRICT COURT
                   10
                                            CENTRAL DISTRICT OF CALIFORNIA
                   11

                   12   VENOCO, LLC, a Delaware limited        )   Case No. 2:16-cv-2988-PSG-JEM
                        liability company, formerly known as   )
                   13   VENOCO, INC.,                          )   SECOND AMENDED COMPLAINT
                                                               )   FOR:
                   14                              Plaintiff,  )   (1) Federal Oil Pollution Act of 1990
                                                               )       (Damages under 33 U.S.C. § 2702);
                   15                   v.                     )   (2) California Lempert-Keene-
                                                               )       Seastrand Oil Spill Prevention and
                   16   PLAINS PIPELINE, L.P., a Texas limited )       Response Act (Damages under Cal.
                        partnership; PLAINS ALL AMERICAN )             Gov. Code § 8670.56.5);
                   17   PIPELINE, L.P., a Delaware limited     )   (3) Negligence/Gross Negligence;
                        partnership; PLAINS GP HOLDINGS, )         (4) Willful Misconduct;
                   18   L.P., a Delaware limited partnership;  )   (5) Intentional Interference with
                        PLAINS AAP, L.P., a Delaware limited   )       Contractual Relations;
                   19   partnership; PLAINS ALL AMERICAN )         (6) Interference with Prospective
                        GP LLC, a Delaware limited liability   )       Economic Advantage; and
                   20   company; and PAA GP LLC, a Delaware )      (7) Declaratory Relief
                        limited liability company;             )
                   21                                          )
                                                   Defendants. )   JURY TRIAL DEMANDED
                   22                                          )
                                                               )
                   23                                          )
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                                                                                   Case No. 2:16-cv-2988-PSG-JEM
                                                                      SECOND AMENDED COMPLAINT; JURY DEMAND
             Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 2 of 34 Page ID #:888


                   1                                       INTRODUCTION
                   2           1.     This is an action by plaintiff Venoco, LLC, formerly known as Venoco,
                   3    Inc. (“Venoco”) against Plains Pipeline, L.P. (“Plains”), its parent company Plains All
                   4    American Pipeline, L.P. (“PAAPL”), and its parent company’s general partners, Plains
                   5    GP Holdings, L.P. (“Plains GP”), Plains AAP, L.P. (“Plains AAP”), Plains All American
                   6    GP LLC (“PAAGP”), and PAA GP LLC (all defendants are referred to collectively
                   7    herein as “Defendants”) for, among other things, more than $20,000,000.00 in damages
                   8    for loss of profits and/or earning capacity that Venoco has suffered, and is continuing
                   9    to suffer, as a result of the rupture of, and injury to, the All American Pipeline (the
                   10   “Pipeline” or “Line 901”), the resulting oil spill and damage to the environment and
                   11   services, the resulting threat of further discharge and damage, and the resulting shut-
                   12   down of the Pipeline, which occurred in this judicial district in Santa Barbara County,
                   13   California. Venoco is informed and believes, and thereon alleges, that Defendants are,
                   14   and have been at all times material to this lawsuit, the owners and operators of the
                   15   Pipeline.
                   16                              JURISDICTION AND VENUE
                   17          2.     The action arises under the Federal Oil Pollution Act of 1990, 33 U.S.C.
                   18   §§ 2701 et seq. (“OPA”), including, but not limited to, §§ 2702, 2713 and 2717. The
                   19   action also arises under the Lempert-Keene-Seastrand Oil Spill Prevention and
                   20   Response Act (the “California Act”), Cal. Gov. Code §§ 8670.1 et seq., including, but not
                   21   limited to, § 8670.56(a) and (h)(c). The California Superior Court for the County of
                   22   Santa Barbara had subject matter jurisdiction over this action pursuant to 33 U.S.C.
                   23   § 2717(c), which section gave that court original jurisdiction over claims for damages
                   24   arising under OPA; pursuant to Cal. Gov. Code § 8670.59(a), which section gave that
                   25   court jurisdiction over claims for damages arising under the California Act; and
                   26   pursuant to Cal. Code of Civil Procedure § 410.10. This Court assumed jurisdiction over
                   27   this case by virtue of Plains’ removal of the initial complaint. This Court has jurisdiction
                   28   over the California state law claims for relief of negligence/gross negligence, willful
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                                                                                     Case No. 2:16-cv-2988-PSG-JEM
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                                                                     SECOND AMENDED COMPLAINT; JURY DEMAND
             Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 3 of 34 Page ID #:889


                   1    misconduct, intentional interference with contractual relations, and interference with
                   2    prospective economic advantage pursuant to 28 U.S.C. § 1367(a), which section confers
                   3    supplemental jurisdiction over all other claims that form part of the same case or
                   4    controversy as the claims over which this Court has original jurisdiction.
                   5           3.     Venue was proper in the California Superior Court for the County of
                   6    Santa Barbara under Cal. Gov. Code § 8670.59(a) in that the rupture of, oil spill and
                   7    discharge from, and injury to, Defendants’ “Pipeline” and injury to services which are
                   8    the subjects of this Second Amended Complaint, occurred within this judicial district.
                   9    Venue was also proper in that court under Cal. Gov. Code Section § 8670.59(a) in that
                   10   Defendants do business in Santa Barbara County. Venue was also proper in that court
                   11   under 33 U.S.C. § 2717(b) in that the “discharge or injury or damages” at issue in this
                   12   action occurred in this judicial district. Venue is proper in the United States District
                   13   Court for the Central District of California by virtue of Plains’ removal of the original
                   14   complaint to this Court. Venue is also proper in this Court under 28 U.S.C. § 1391(b) in
                   15   that the properties which are the subject of this Second Amended Complaint are located
                   16   within this judicial district. Venue is also proper in this Court under 28 U.S.C. § 1391(b)
                   17   in that a substantial portion, if not all, of the events, acts or omissions alleged in this
                   18   Second Amended Complaint took place in this judicial district.
                   19                                         THE PARTIES
                   20          4.     Venoco is a limited liability company incorporated under the laws of the
                   21   State of Delaware. Venoco is qualified to conduct business in the State of California and
                   22   produces crude oil, natural gas, and natural gas liquids at a Venoco-owned offshore
                   23   platform “Holly” in the Santa Barbara Channel off the coast of Santa Barbara County,
                   24   California pursuant to, and with, all legal rights and interests required to produce such
                   25   crude oil, natural gas, and natural gas liquids and to vest ownership of that crude oil,
                   26   natural gas, and natural gas liquids in Venoco.
                   27          5.     Venoco is informed and believes, and thereon alleges, that defendant
                   28   Plains is a Texas limited partnership with its principal place of business located in
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                                                                                       Case No. 2:16-cv-2988-PSG-JEM
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                                                                       SECOND AMENDED COMPLAINT; JURY DEMAND
             Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 4 of 34 Page ID #:890


                   1    Houston, Texas. At the time of the injury to and rupture of the Pipeline, and the
                   2    commencement of the crude petroleum release into the ocean and the other injuries
                   3    alleged herein, the Pipeline was operated pursuant to a Local Tariff, F.E.R.C. No.
                   4    114.2.0, issued to Plains (“Local Tariff”), which required Plains to transport crude
                   5    petroleum that meets the specifications in the Local Tariff subject to payment of the
                   6    appropriate charges, without discrimination among shippers. Although Plains purported
                   7    to cancel the relevant portion of the Local Tariff following the filing of this action, such
                   8    cancellation was (if it is not invalidated) merely pretextual in an effort to avoid damages
                   9    to Venoco.
                   10          6.     Venoco is informed and believes, and thereon alleges, that PAAPL is a
                   11   Delaware limited partnership with its principal place of business located in Houston,
                   12   Texas. PAAPL states as follows in its Form 10K: “we own and operate the All
                   13   American Pipeline . . . . [W]e experienced a crude oil release from our Las Flores to
                   14   Gaviota Pipeline (Line 901) in Santa Barbara . . . [and] our estimated undiscounted
                   15   reserve for environmental liabilities (including liabilities related to the Line 901 incident,
                   16   as discussed further below) totaled $185 million.” The Failure Investigation Report
                   17   issued by the U.S. Department of Transportation, Pipeline and Hazardous Materials
                   18   Safety Administration (“PHMSA”) states that “[a]t the time of the spill, Plains All
                   19   American Pipeline (PAAPL) operated Line 901 . . . .”
                   20          7.     Venoco is informed and believes, and thereon alleges, that defendants
                   21   Plains GP and Plains AAP are Delaware limited partnerships, and that defendants
                   22   PAAGP and PAA GP LLC are Delaware limited liability companies, each with its
                   23   principal place of business located in Houston, TX. Venoco is informed and believes,
                   24   and thereon alleges, that each of these defendants is a general partner of PAAPL.
                   25   PAAPL’s 10K states that its general partner entities have “responsibility for conducting
                   26   our business and managing our operations,” and “employs [PAAPL’s] management and
                   27   operational personnel” which, on information and belief, includes the personnel who
                   28   the PHMSA determined contributed to the oil spill and the inadequate response to the
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                                                                                      Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                      SECOND AMENDED COMPLAINT; JURY DEMAND
             Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 5 of 34 Page ID #:891


                   1    rupture. As PAAPL states in its 10K, these general partner entities may enter into
                   2    agreements with PAAPL that “are not necessarily the result of arms-length
                   3    negotiations.”
                   4           8.     Venoco is informed and believes, and thereon alleges, that at all times
                   5    mentioned herein, Defendants, and each of them, were agents, partners, employees,
                   6    representatives, subsidiaries, parents or affiliates of one another, and in doing the things
                   7    alleged herein were acting within the course and scope of such position or positions,
                   8    were acting with the knowledge, permission, approval and consent of each other, and
                   9    were intending to act in furtherance of each other’s endeavors as alleged herein.
                   10          9.     Venoco further is informed and believes and thereon alleges that there
                   11   exists a unity of interest, ownership, and principal places of business as between
                   12   PAAPL, Plains GP, Plains AAP, PAAGP, and PAA GP LLC (collectively,
                   13   the “Operating Defendants”) and Plains. The Defendants, thus, have and did hold
                   14   themselves out as related in interest, ownership, and management and engaged in the
                   15   direction and oversight, and the day-to-day operations of, the Pipeline, such that each of
                   16   the Defendants should be liable to the same extent. Venoco is further informed and
                   17   believes and thereon alleges that Plains was and is the agent of the Operating
                   18   Defendants, and that the Operating Defendants exercised direction and oversight of
                   19   Plains, including the day-to-day activities of Plains in connection with its operation of
                   20   the Pipeline. Venoco is further informed and believes and thereon alleges that Plains
                   21   can be legitimately described as a mere instrumentality through which the Operating
                   22   Defendants acted in the operation of the Pipeline.
                   23                                 FACTUAL BACKGROUND
                   24   A.     Plaintiff Venoco’s Oil Production and Defendants’ Transportation of Oil.
                   25          10.    Venoco produces crude oil at a Venoco-owned offshore platform “Holly”
                   26   in the Santa Barbara Channel offshore the County of Santa Barbara, California.
                   27   Incidentally to the crude oil production at its Holly platform, Venoco also produces
                   28   natural gas and natural gas liquids pursuant to, and with, all legal rights and interests
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                                                                                      Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                      SECOND AMENDED COMPLAINT; JURY DEMAND
             Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 6 of 34 Page ID #:892


                   1    required to produce such natural gas and natural gas liquids and to vest ownership of
                   2    that natural gas and natural gas liquids in Venoco. This natural gas and natural gas
                   3    liquids cannot reasonably and feasibly be produced without producing crude oil
                   4    simultaneously with, and in conjunction with, the natural gas and natural gas liquids.
                   5          11.    Venoco’s limited available storage capacity for crude oil produced at the
                   6    Holly platform requires that all of the crude oil production from Venoco’s Holly
                   7    platform be transported through the Pipeline soon after the crude oil is extracted.
                   8    Although Venoco has no contract with Defendants (and Defendants never requested or
                   9    required any such contract), crude oil produced from Venoco’s Holly platform had been
                   10   transported through the Pipeline, with Defendants’ knowledge, pursuant to and in
                   11   accordance with the Local Tariff, until the Pipeline had to be shut down because of the
                   12   rupture of and damage to Defendants’ Pipeline and the direct and inevitable resulting
                   13   discharge of oil (and substantial threat of discharge of oil) into the Pacific Ocean from
                   14   the Pipeline caused by Defendants’ conduct as described herein.
                   15         12.    Venoco is informed and believes and thereon alleges that its Holly
                   16   platform is one of only four off-shore oil platforms that connect to Defendants’
                   17   Pipeline; the other three platforms, which are also off the California coastline, are
                   18   owned by Exxon Mobil. One of the key purposes of Defendants’ Pipeline is to
                   19   transport oil that is produced from these four platforms.
                   20         13.    Venoco is informed and believes and thereon alleges that Defendants are
                   21   very large and sophisticated pipeline operators and know, and at all times material
                   22   herein knew, what the oil transportation options are in the Santa Barbara area. State and
                   23   Federal agencies make pipeline maps available to the public (for example, the U.S.
                   24   Department of Transportation’s National Pipeline Mapping System,
                   25   www.npms.phmsa.dot.gov) which show the lack of an alternative pipeline to
                   26   Defendants’ Pipeline. Venoco is informed and believes and thereon alleges that
                   27   Defendants, as very large and sophisticated pipeline operators, know, and at all times
                   28   material herein knew, of these government oil pipeline maps, and knew there were no
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                                                                                     Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                     SECOND AMENDED COMPLAINT; JURY DEMAND
             Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 7 of 34 Page ID #:893


                   1    alternative pipelines by which to transport oil produced from Venoco’s Holly platform.
                   2    Defendants at all relevant times knew and know that Venoco produces oil at the Holly
                   3    platform and that the oil produced from the Holly platform is transported in
                   4    Defendants’ Pipeline. Defendants, therefore, knew that their failure to adhere to
                   5    Pipeline Safety Regulations governing corrosion and pipeline maintenance (Title 49,
                   6    Code of Federal Regulations) created a substantial threat of a discharge of oil—a threat
                   7    that materialized on May 19, 2016 and continues currently—and knew that the
                   8    substantial threat of discharge would inevitably damage Venoco’s business by removing
                   9    Venoco’s only commercially viable means of transporting oil until the Defendants
                   10   eliminated the risk of discharge.
                   11         14.    As Defendants knew and know, Venoco has a contract with Phillips 66
                   12   Company (“Phillips”) pursuant to which Phillips purchases the crude oil that is
                   13   produced from Venoco’s Holly platform and transported through the Pipeline. On a
                   14   monthly basis, Venoco sent an email to Defendants informing them how much oil
                   15   would be delivered from the Holly platform into the Pipeline the following month. This
                   16   monthly written process, known as “nominating,” identified Phillips as the recipient of
                   17   the oil that would be delivered into the Pipeline. Phillips was conspicuously copied on
                   18   the monthly nominating process emails from Venoco to Defendants. Venoco is
                   19   informed and believes, and thereon alleges, that Phillips sent Defendants a similar
                   20   nomination form each month showing the volume of oil to be delivered from Venoco’s
                   21   Holly Platform to the Pipeline, with Phillips as the intended recipient. Venoco had a
                   22   reasonable expectation that Phillips would continue to purchase the crude oil produced
                   23   from its Holly platform and that, if Phillips did not do so for any reason, Venoco could
                   24   and would sell such crude oil to another third party.
                   25   B.    The Spill into the Pacific Ocean from the Pipeline.
                   26         15.    Venoco is informed and believes, and thereon alleges, that Defendants
                   27   constructed the Pipeline in 1987, at which time Santa Barbara County’s Energy Division
                   28   (the “County”) ordered Defendants to install an automatic shut-off valve system on the
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                                                                                    Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                    SECOND AMENDED COMPLAINT; JURY DEMAND
             Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 8 of 34 Page ID #:894


                   1    Pipeline to ensure it would shut down swiftly, without waiting for human action, at the
                   2    first sign of a potential problem in the Pipeline. Venoco further is informed and believes
                   3    that, rather than agree to these safety protocols, Defendants fought the County, arguing
                   4    that the County lacked jurisdiction to regulate Defendants’ pipeline design and
                   5    installation. Venoco further is informed and believes that, as a result, Defendants’
                   6    Pipeline is the only pipeline in Santa Barbara County that the County cannot monitor or
                   7    inspect for safety.
                   8           16.    Venoco is informed and believes and thereon alleges that, since 2006,
                   9    Plains has been cited for over 175 violations of safety requirements, causing nearly $24
                   10   million in property damage. Venoco is informed and believes and thereon alleges that
                   11   eleven of those incidents were in California, and that Plains is one of the top four most-
                   12   cited pipeline operators in the country. Defendants not only have a pattern and practice
                   13   of shoddy safety and maintenance procedures on their pipelines, they have knowledge
                   14   that the failure to properly maintain their pipelines creates a substantial threat of a
                   15   discharge of oil that can cause damage to others and/or the environment.
                   16          17.    As of May 19, 2015, Defendants’ lack of care for the proper maintenance
                   17   of the Pipeline and/or extreme departure from what a reasonably careful person would
                   18   do to prevent harm to the environment and others, willful misconduct, or other
                   19   negligence, created a substantial threat of discharge of oil. That substantial threat of
                   20   discharge exists now, rendering the Pipeline inoperable, and will continue to exist unless
                   21   and until Defendants bring the corroded Pipeline into compliance with all applicable
                   22   safety regulations.
                   23          18.    On or about May 19, 2015, as a result of Defendants’ lack of care for the
                   24   proper maintenance of the Pipeline and/or extreme departure from what a reasonably
                   25   careful person would do to prevent harm to the environment and others, willful
                   26   misconduct, or other negligence, pressurized oil in the corroded Pipeline ruptured it,
                   27   damaging the Pipeline and causing a significant crude oil spill in Santa Barbara County,
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   Tatro Tekosky
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                                                                                      Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                      SECOND AMENDED COMPLAINT; JURY DEMAND
             Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 9 of 34 Page ID #:895


                   1    California and into the Pacific Ocean, and added to the already extant substantial threat
                   2    of further discharge of oil.
                   3           19.    The threat created by Defendants’ lack of care for the proper maintenance
                   4    of the Pipeline and/or extreme departure from what a reasonably careful person would
                   5    do to prevent harm to the environment and others, willful misconduct, or other
                   6    negligence, was “substantial” not only because of the likelihood of these things causing
                   7    a discharge of oil, but also because of the magnitude of the harm that such a discharge
                   8    would inevitably cause to the environment (in this biologically diverse and sensitive
                   9    area) and to those depending on the Pipeline for commerce, such as Venoco.
                   10          20.    Venoco is informed and believes and thereon alleges that this rupture of
                   11   the corroded Pipeline by pressurized oil and the simultaneous discharge of oil deposited
                   12   over 140,000 gallons (approximately 3,400 barrels) of crude oil onto one of the most
                   13   biologically diverse coastlines of the west coast, resulting in not only damage to the
                   14   Pipeline, but significant damage to property and natural resources and injury to (i.e.,
                   15   disruption of) services, and which included (but was not limited to) the thick crude oil
                   16   that spilled, coating hundreds of animals along the coast, resulting in the death of many
                   17   of these animals. Venoco further is informed and believes and thereon alleges that the
                   18   spill reached nearly nine miles out into the Pacific Ocean, coated the county’s coastline,
                   19   impacted the fragile ecosystem of the Gaviota Coast and a Native American burial site.
                   20   After the rupture by the pressurized oil, placing additional pressurized oil into the
                   21   poorly maintained and corroded Pipeline (i.e., continuing to use it, even with stop-gap
                   22   repair measures) would have fit any definition of “substantial threat of discharge.”
                   23          21.    The Pipeline and services on and related to the Pipeline were injured (i.e.,
                   24   disrupted) when, as an inevitable and direct result of the rupture of the poorly-
                   25   maintained and corroded Pipeline by pressurized oil, and the discharge of oil (and
                   26   substantial threat of discharge of oil), Defendants shut down the Pipeline on May 19,
                   27   2015 to prevent further oil spillage from the ruptured Pipeline, because the ruptured
                   28   Pipeline could not be operated without discharging oil. Because of the continued threat
   Tatro Tekosky
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                                                                                     Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                     SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 10 of 34 Page ID #:896


                   1    of a substantial discharge of oil, the Pipeline has been inoperative since Defendants’
                   2    shut down of the Pipeline on May 19, 2015, and remains inoperative as of this date.
                   3    Venoco is informed and believes and thereon alleges that there is no date certain for the
                   4    resumption of the Pipeline’s services or operations, but that Defendants intend to repair
                   5    or replace the Pipeline to eliminate the substantial threat of a further discharge of oil
                   6    and resume services and operations.
                   7           22.    Venoco is informed and believes, and thereon alleges, that, although
                   8    regular maintenance of pipelines is a crucial step that owners of pipelines must take in
                   9    order to avoid discharging oil, the substantial threat of discharging oil, threats of harm
                   10   to others and the environment and to avoid exactly the disaster (including the injury to
                   11   services resulting from the spill into the Pacific Ocean) that occurred, Defendants had
                   12   allowed the Pipeline to become severely corroded. Preliminary findings by PHMSA
                   13   show that an early May 2015 inspection of the Pipeline—just weeks prior to the May 19,
                   14   2015 spill—revealed “extensive external corrosion,” noted that the Pipeline’s walls had
                   15   been reduced by 54 to 74 percent of their original thickness, and noted that the Pipeline
                   16   had been reduced to 1/16 of an inch at the area where the pressurized oil breached the
                   17   Pipeline wall. PHMSA further found that Defendants failed to detect the corrosion and
                   18   failed to mitigate the corrosion; the inspection tool that Defendants used, and
                   19   Defendants’ analysis of the data therefrom, did not accurately characterize the extent
                   20   and depth of the corrosion. These findings confirm the substantiality of the threat of
                   21   discharge that would attend operation of the Pipeline and thus mandate its closure, with
                   22   the inevitable effect of damaging Venoco.
                   23          23.    Venoco is informed and believes, and thereon alleges, that Defendants
                   24   repaired corrosion at three adjacent parts of the Pipeline in recent years, reflecting
                   25   awareness of the extent of the corrosion on the line and knowledge of how to address
                   26   it, but Defendants failed to take the necessary steps to repair the corroded section of the
                   27   Pipeline where the pressurized oil pushed through the Pipeline wall on May 19, 2015.
                   28   According to the Failure Investigation Report that PHMSA issued in May of 2016
   Tatro Tekosky
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                                                                                     Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                     SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 11 of 34 Page ID #:897


                   1    regarding the May 19, 2015 Pipeline rupture (the “PHMSA Report”), the Pipeline
                   2    rupture occurred at an area of external corrosion that ultimately “failed in a single
                   3    event” under the operating oil pressure, such that the oil (under pressure while the
                   4    Pipeline was in operation) ruptured the Pipeline from the inside. See
                   5    http://www.phmsa.dot.gov/staticfiles/PHMSA/DownloadableFiles/Files/PHMSA_Fa
                   6    ilure_Investigation_Report_Plains_Pipeline_LP_Line_901_Public.pdf. In other words,
                   7    the oil (under pressure while the Pipeline was in operation) pushed through the
                   8    corroded and weakened portion of the Pipeline, and caused the rupture and resulting
                   9    discharge of oil. The PHMSA Report also reflects that corrosion exists elsewhere on the
                   10   Pipeline and confirms the substantiality of the threat of discharge that would attend
                   11   operation of the Pipeline and thus mandate its closure, with the inevitable effect of
                   12   damaging Venoco.
                   13         24.    Venoco is informed and believes, and on that basis alleges, that on
                   14   September 11, 2015, PHMSA issued a formal notice of probable violation and
                   15   compliance order against Defendants in light of a long-standing investigation. In its
                   16   notice, PHMSA stated that “as a result of the inspection, it appears that you have
                   17   committed probable violations of the Pipeline Safety Regulations, Title 49, Code of
                   18   Federal Regulations . . . . These findings and probable violations were determined prior
                   19   to the May 19, 2015 crude oil spill in Santa Barbara County, California.” The notice
                   20   identifies the following six probable violations by Defendants, all of which (individually,
                   21   as well as collectively) confirm the substantiality of the threat of discharge that would
                   22   attend operation of the Pipeline and thus mandate its closure, with the inevitable effect
                   23   of damaging Venoco:
                   24                a.     Failure to maintain adequate documentation of pressure tests as part
                   25         of Defendants’ baseline assessment plan for the seven breakout tanks at Pentland
                   26         Station in Kern County, California and failure to present any evidence of past
                   27         pressure tests performed on the breakout tanks to inspection teams. While some
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   Tatro Tekosky
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                                                                                     Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                     SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 12 of 34 Page ID #:898


                   1           evidence of testing from 1995 was ultimately presented, these did not confirm
                   2           that the tests were performed in compliance with regulations;
                   3                    b.       Failure to maintain adequate documentation of Defendants’
                   4           preventative and mitigative evaluations prior to the 2013 calendar year for at least
                   5           two different pipeline segments, and later stating that these records could not be
                   6           found;
                   7                    c.       Failure to adequately document consideration of preventive and
                   8           mitigative measures nor explain why implementation of said measures was not
                   9           executed in “High Consequence Areas;”
                   10                   d.       Failure to present adequate documentation of Defendants’ annual
                   11          review of their emergency response training program, resulting in an ability to
                   12          demonstrate an adequate review of training program objectives or the decision-
                   13          making process for changes made to emergency response programs;
                   14                   e.       Failure to present adequate documentation that would demonstrate
                   15          that supervisors maintained a thorough knowledge of the portions of the
                   16          emergency response procedure for which they are responsible and for which it is
                   17          their job to ensure compliance; and
                   18                   f.       Failure to maintain sufficient records to demonstrate that
                   19          contractors met the required qualifications.
                   20          25.      Venoco is informed and believes, and on that basis alleges, that in addition
                   21   to the above probable violations, the PHMSA also cited three additional areas of safety
                   22   concern, all of which (individually, as well as collectively) confirm the substantiality of
                   23   the threat of discharge that would attend operation of the Pipeline and thus mandate its
                   24   closure, with the inevitable effect of damaging Venoco:
                   25                a. Defendants’ failure to fully discuss or document how tool tolerance was
                   26                        addressed or how measured anomalies that deviated significantly from
                   27                        the size predicted by the tool were addressed;
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   Tatro Tekosky
   Sadwick LLP                                                          11
                                                                                        Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                        SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 13 of 34 Page ID #:899


                   1                 b. Defendants’ failure to completely document Management of Change
                   2                    for pressure reduction; and
                   3                 c. Defendants’ failure to comply with Defendants’ responsibility to
                   4                    educate emergency response officials as part of a Public Awareness
                   5                    Program.
                   6           26.    Venoco is informed and believes, and thereon alleges, that, as a result of
                   7    these findings confirming the substantiality of the threat of discharge that would attend
                   8    operation of the Pipeline (and thus mandate its closure, with the inevitable effect of
                   9    damaging Venoco), the PHMSA issued a Proposed Compliance Order demanding that
                   10   Defendants take action to remediate the above probable violations and safety concerns.
                   11   In the PHMSA Report detailing the results of its investigation into the Pipeline rupture
                   12   and resulting discharge of oil, PHMSA identified three primary categories of causes, as
                   13   follows, all of which (individually, as well as collectively) confirm the substantiality of
                   14   the threat of discharge that would attend operation of the Pipeline and thus mandate its
                   15   closure, with the inevitable effect of damaging Venoco:
                   16                a. Defendants’ “[i]neffective protection against external corrosion of the
                   17                   pipeline,”—i.e., Defendants’ cathodic protection system, which is
                   18                   required under federal Pipeline Safety Regulation 49 C.F.R. § 195.563 to
                   19                   prevent external corrosion of buried pipelines, was ineffective and
                   20                   inconsistent with industry practices;
                   21                b. “Failure by Defendants to detect and mitigate the corrosion”: the
                   22                   PHMSA Report explains that Defendants failed to identify corrosion
                   23                   “as a risk-driving threat in their federally-mandated integrity
                   24                   management program (IMP)” and “did not apply sufficient mitigative
                   25                   strategies to prevent” the corrosion that caused the rupture.
                   26                c. “Defendants’ lack of timely detection of the rupture.”
                   27          27.    The PHMSA Report notes that as part of its federally-mandated IMP, and
                   28   pursuant to 49 CFR Part 195.452(b)(6), operators must “[f]ollow recognized industry
   Tatro Tekosky
   Sadwick LLP                                                        12
                                                                                      Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                      SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 14 of 34 Page ID #:900


                   1    practices,” including “work[ing] intimately with the ILI [in-line-inspection] vendor to
                   2    obtain useable information about their pipeline system.” The PHMSA Report found,
                   3    however, that Defendants failed to “fully implement their IMP” and did not provide
                   4    evidence of required communications with its ILI vendor. The PHMSA Report found
                   5    that these failures contributed to large discrepancies between the actual corrosion levels
                   6    on its ruptured pipeline and the corrosion levels predicted by its analysis of its in-line-
                   7    inspection data, noting that the “in-line inspection (ILI) tool and subsequent analysis of
                   8    ILI data did not characterize the extent and depth of the external corrosion accurately.”
                   9    All of these findings (individually, as well as collectively) confirm the substantiality of
                   10   the threat of discharge that would attend operation of the Pipeline, and thus mandate its
                   11   closure, with the inevitable effect of damaging Venoco.
                   12           28.     The PHMSA Report’s conclusion, which was echoed publicly by the
                   13   United States Department of Transportation (“DOT”), was that “[a]lthough the
                   14   operational events that occurred on the morning of the release were abnormal, this
                   15   should not have caused the release if the pipeline’s integrity had been maintained to federal standards.”
                   16   This conclusion confirms the substantiality of the threat of discharge that would attend
                   17   operation of the Pipeline, and thus mandate its closure, with the inevitable effect of
                   18   damaging Venoco.
                   19           29.     The U.S. DOT press release accompanying the PHMSA Report likewise
                   20   states as follows, which statements, alone and collectively, confirm the substantiality of
                   21   the threat of discharge that would attend operation of the Pipeline, and thus mandate its
                   22   closure, with the inevitable effect of damaging Venoco:
                   23                  a. “PHMSA’s investigation reveals that a number of preventable errors led to this
                   24                      incident, and that the company’s [i.e., Defendants’] failures in judgment,
                   25                      including inadequate assessment of the safety of this line and faulty
                   26                      planning made matters worse,”
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   Tatro Tekosky
   Sadwick LLP                                                              13
                                                                                            Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                            SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 15 of 34 Page ID #:901


                   1                 b. “This report confirms our preliminary findings on the cause of this
                   2                    incident, and reveals that the operator [i.e., Defendants] failed on multiple
                   3                    levels to prevent, detect and respond to this incident.”
                   4           30.    Venoco is informed and believes and thereon alleges that Defendants had
                   5    turned off an alarm that would have signaled a leak on the Pipeline, and that
                   6    Defendants even temporarily restarted the damaged and oil-ruptured Pipeline,
                   7    compounding the spill and injuries, and further exacerbating (and underscoring) the
                   8    substantial threat of discharge that would attend operation of the Pipeline. Venoco is
                   9    further informed and believes and thereon alleges that PHMSA identified a number of
                   10   preventable errors by Defendants, including inaccurate assessment of data, inadequate
                   11   maintenance of the Pipeline, and faulty planning. These errors created the substantial
                   12   the threat of discharge that would attend operation of the Pipeline, and thus mandate its
                   13   closure, with the inevitable effect of damaging Venoco. These errors also led to the
                   14   pressurized oil rupturing the Pipeline and resulting injury.
                   15          31.    Venoco is informed and believes and thereon alleges that, on May 16,
                   16   2016, a grand jury indicted PAAP and one of its employees on 46 criminal charges
                   17   arising out of the pressurized oil rupturing the corroded Pipeline and the resulting spill,
                   18   including four felony charges and 42 misdemeanor charges. Many of the things which
                   19   are the subject of the grand jury indictments alone and collectively, confirm the
                   20   substantiality of the threat of discharge that would attend operation of the Pipeline, and
                   21   thus mandate its closure, with the inevitable effect of damaging Venoco.
                   22   C.     Venoco’s Resulting Damages.
                   23          32.    The damages which follow from any discharge of oil are a function of the
                   24   unique circumstances of the discharge. In some circumstances, damages inevitably
                   25   follow directly from the discharge. For example, if discharged oil pools around a place
                   26   of business, it inevitably directly follows that the business will be interrupted while the
                   27   release, and/or threat of further release, is addressed. In other circumstances, damages
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   Tatro Tekosky
   Sadwick LLP                                                            14
                                                                                          Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                          SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 16 of 34 Page ID #:902


                   1    are indirect and fortuitous. For example, a release could—but very possibly may not and
                   2    certainly does not inevitably—lead to a fire.
                   3           33.    Like pooling oil following a release, the oil discharged into the Pacific
                   4    Ocean and elsewhere from the ruptured and injured Pipeline, and the substantial threat
                   5    of further discharges, directly and inevitably caused an interruption of Venoco’s
                   6    business while Defendants shut down the operation of the ruptured Pipeline to address
                   7    the threat of further releases.
                   8           34.    Likewise, the damages which follow from a substantial threat of a
                   9    discharge of oil are a function of the unique circumstances that are threatened to occur
                   10   if the discharge occurs. In some circumstances, damages inevitably follow directly from
                   11   the substantial threat of discharge. For example, if stopping a substantial threat
                   12   necessitates cutting off access to a place of business, it inevitably directly follows that
                   13   the business will be interrupted while the threat of release is addressed. In other
                   14   circumstances, damages are not inevitable. For example, some substantial threats of
                   15   release might not inevitably lead to interrupting a business while the threat is addressed
                   16   (e.g., if the business had an alternative means of ingress and egress).
                   17          35.    Like a substantial threat of release which necessarily interrupts access, the
                   18   substantial threat of discharges from the Pipeline, together with the actual discharges
                   19   and the damage to the Pipeline arising therefrom, directly and inevitably caused an
                   20   interruption of Venoco’s business because the threat of further discharges necessitated
                   21   shutting down the operation of the oil-ruptured Pipeline. In particular, since the
                   22   Pipeline’s rupture on or about May 19, 2015, which was the direct and inevitable result
                   23   of the pressurized oil and lack of proper maintenance, and as a direct and inevitable
                   24   result of both the discharge of the pressurized oil into the Pacific Ocean and elsewhere
                   25   and the necessary shutdown of the operation of the ruptured Pipeline caused by the
                   26   substantial threat of additional releases, crude oil produced from Venoco’s Holly
                   27   platform has not been allowed to be transported through the Pipeline, causing injury to
                   28   Venoco. As a consequence, since on or about May 19, 2015, Venoco has not produced
   Tatro Tekosky
   Sadwick LLP                                                        15
                                                                                      Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                      SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 17 of 34 Page ID #:903


                   1    crude oil, natural gas, or natural gas liquids from its Holly platform, has not serviced its
                   2    sales contract with Phillips, and the Holly platform has been “shut in.” Similarly, as a
                   3    result of the discharge of oil, the substantial threat of discharge of oil, the damage to the
                   4    Pipeline arising therefrom, and the resulting injury to services, Venoco has been unable
                   5    to sell crude oil to Phillips or anyone else.
                   6           36.    If Venoco continued to produce crude oil from the Holly platform after
                   7    the pressurized oil ruptured the Pipeline and/or after the Pipeline was shut down to
                   8    address the discharges and substantial threat of a discharge, and services were injured
                   9    (i.e., disrupted) as described herein (which also caused Venoco to be unable to service its
                   10   contract with Phillips), Venoco would be unable to store or transport such crude oil.
                   11          37.    Since services on the Pipeline, and Venoco’s ability to service the Phillips
                   12   contract, were injured on or about May 19, 2015, and continuing at least to the present
                   13   date, Venoco has had no commercially viable and available alternative mode of
                   14   transporting the crude oil produced by its Holly platform, and has had no commercially
                   15   viable and available alternative mode of storing the crude oil produced by its Holly
                   16   platform.
                   17          38.    Venoco’s Holly platform has been, and remains, shut-in as a result of the
                   18   discharges from the damaged Pipeline, the substantial threat of discharge of oil and/or
                   19   pressurized oil rupturing the Pipeline and discharging oil described above and the
                   20   inevitable shutdown of the Pipeline by Defendants on that same day, which disrupted
                   21   services on or related to the Pipeline and prevented the production, transportation, and
                   22   sale of crude oil, natural gas, and natural gas liquids from Venoco’s Holly platform, and
                   23   thereby disrupted and interfered with the Phillips contract.
                   24          39.    Every day that Venoco’s Holly platform remains shut-in as a result of the
                   25   discharges from the damaged Pipeline, the substantial threat of discharge of oil and/or
                   26   pressurized oil rupturing the Pipeline and discharging oil described above, and the
                   27   inevitable shutdown of the Pipeline, the injury to and disruption of services on or
                   28
   Tatro Tekosky
   Sadwick LLP                                                          16
                                                                                        Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                        SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 18 of 34 Page ID #:904


                   1    related to the Pipeline (and to the Phillips contract), causes Venoco to incur lost profits
                   2    and impairment of earning capacity damages.
                   3          40.    For the time period of May 19, 2015 through the date of this filing,
                   4    Venoco’s damages for loss of profits and/or earning capacity, arising from the
                   5    substantial threat of discharge of oil and/or pressurized oil rupturing the Pipeline and
                   6    discharging oil described above and the inevitable shutdown of the ruptured Pipeline
                   7    and the resulting disruption of services on or related to the Pipeline (and to the Phillips
                   8    contract), exceed $20,000,000.00. Venoco continues to incur damages each day the
                   9    Pipeline remains ruptured and services (and the Phillips contract) are disrupted. Venoco
                   10   will continue to incur damages at least as long as the shut-in of its Holly platform
                   11   continues.
                   12         41.    Venoco has, from May 19, 2015 through May 31, 2016, incurred
                   13   reasonable financial and accounting expert costs of not less than $113,160.00 for
                   14   providing assistance to Venoco to assess Venoco’s loss of profits and/or earning
                   15   capacity resulting from the releases of oil from the damaged Pipeline, the substantial
                   16   threat of discharge of oil and/or pressurized oil rupturing the Pipeline and discharging
                   17   oil, and the inevitable shutdown of the ruptured Pipeline by Defendants.
                   18   C.    Defendants’ Refusal to Pay Monies Owed to Venoco.
                   19         42.    On December 31, 2015, Venoco presented to Plains a notice of claim
                   20   under Plains’ Local Tariff and a claim (“the Claim”) within the meaning of Section
                   21   1001(3) of OPA, 33 U.S.C. § 2701(3). The Claim was in the amount of $12,417,460.00
                   22   for lost profit and impairment of earning capacity damages from May 19, 2015 through
                   23   November 30, 2015, and, from May 19, 2015 through December 23, 2015, $108,900.50
                   24   for the reasonable cost of estimating the lost profit and impairment of earning capacity
                   25   damages claimed by Venoco due to and resulting from the releases of oil from the
                   26   corroded Pipeline, the substantial threat of discharge of oil and/or pressurized oil
                   27   rupturing the Pipeline and discharging oil, and the damage to the Pipeline arising
                   28   therefrom described above, including injury to the Pipeline and to Pipeline services (and
   Tatro Tekosky
   Sadwick LLP                                                       17
                                                                                     Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                     SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 19 of 34 Page ID #:905


                   1    services to the Phillips contract). Contemporaneously, with the filing of the First
                   2    Amended Complaint, Venoco presented to Defendants an updated notice of claim
                   3    under the Local Tariff and an updated Claim.
                   4           43.    To date, Defendants have not paid, or committed to pay, Venoco’s Claim.
                   5                                   FIRST CLAIM FOR RELIEF
                   6                   Damages under 33 U.S.C. § 2702 against all Defendants
                   7           44.    Venoco incorporates Paragraphs 1 through 43, inclusive, as though set
                   8    forth fully herein.
                   9           45.    OPA’s accompanying regulations state that OPA’s goal “is to make the
                   10   environment and public whole for injuries to natural resources and services resulting from
                   11   an incident involving a discharge or substantial threat of a discharge of oil (incident).” 15
                   12   C.F.R. § 990.10 (emphasis added).
                   13          46.    Section 1001(14) of OPA, 33 U.S.C. § 2701(14) defines “incident” to mean
                   14   “any occurrence or series of occurrences having the same origin, involving one or more
                   15   vessels, facilities, or any combination thereof, resulting in the discharge or substantial
                   16   threat of discharge of oil[.]”
                   17          47.    Section 1002(a) of OPA (OPA’s liability provision) provides:
                   18   “Notwithstanding any other provision or rule of law, and subject to the provisions of
                   19   this chapter, each responsible party for a vessel or a facility from which oil is discharged,
                   20   or which poses the substantial threat of a discharge of oil, into or upon the navigable
                   21   waters or adjoining shorelines or the exclusive economic zone is liable for the removal
                   22   costs and damages specified in subsection (b) that result from such incident.” 33
                   23   U.S.C. § 2702(a) (emphasis added).
                   24          48.    Section 1002(b)(2)(E) of OPA, in turn, provides that the damages referred
                   25   to in subsection (a) include “[d]amages equal to the loss of profits or impairment of
                   26   earning capacity due to the injury, destruction, or loss of real property, personal
                   27   property, or natural resources, which shall be recoverable by any claimant.”
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   Tatro Tekosky
   Sadwick LLP                                                          18
                                                                                        Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                        SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 20 of 34 Page ID #:906


                   1          49.    Venoco is, and has been at all times material hereto, a “person” within the
                   2    meaning of Section 1001(27) of OPA, 33 U.S.C. § 2701(27). Venoco is informed and
                   3    believes and on that basis alleges that each of the Defendants is a “person” within the
                   4    meaning of Section 1001(27) of OPA, 33 U.S.C. § 2701(27).
                   5          50.    Defendants’ Pipeline in Santa Barbara County, California is, and has been
                   6    at all times material hereto, a “facility” within the meaning of Section 1001(9) of OPA,
                   7    33 U.S.C. § 2701(9).
                   8          51.    Defendants’ Pipeline in Santa Barbara County, California is, and has been
                   9    at all times material hereto, an “onshore facility” within the meaning of Section
                   10   1001(24) of OPA, 33 U.S.C. § 2701(24).
                   11         52.    Venoco is informed and believes, and thereon alleges, that starting on an
                   12   exact date currently unknown to Venoco, but including the timeframe from on or about
                   13   May 19, 2015 to the current date, and including all times material hereto, each
                   14   Defendant was (and is) an “operator” of a facility, to wit: the Pipeline, within the
                   15   meaning of Section 1001(26) of OPA, 33 U.S.C. § 2701(26).
                   16         53.    Venoco is informed and believes, and thereon alleges, that starting on an
                   17   exact date currently unknown to Venoco, but including the timeframe from on or about
                   18   May 19, 2015 to the current date, and including all times material hereto, each
                   19   Defendant was (and is) an “owner” of a facility, to wit: the Pipeline, within the meaning
                   20   of Section 1001(26) of OPA, 33 U.S.C. § 2701(26).
                   21         54.    Venoco is informed and believes, and thereon alleges, that starting on an
                   22   exact date currently unknown to Venoco, but including the timeframe from on or about
                   23   May 19, 2015 to the current date, and including all times material hereto, each
                   24   Defendant was (and is) a “responsible party” within the meaning of Section 1001(32) of
                   25   OPA, 33 U.S.C. § 2701(32).
                   26         55.    Crude oil is “oil” within the meaning of Section 1001(23) of OPA, 33
                   27   U.S.C. § 2701(33).
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   Tatro Tekosky
   Sadwick LLP                                                      19
                                                                                     Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                     SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 21 of 34 Page ID #:907


                   1          56.    “Navigable waters” means “navigable waters” within the meaning of
                   2    Section 1001(21) of OPA, 33 U.S.C. § 2701(21).
                   3          57.    Venoco is a “claimant” within the meaning of Section 1001(4) of OPA, 33
                   4    U.S.C. § 2701(4), and pursuant to 33 C.F.R. § 136.231(a).
                   5          58.    On or around May 19, 2015, in Santa Barbara County, California, oil was
                   6    discharged within the meaning of Section 1001(7) of OPA, 33 U.S.C. § 2701(7), into or
                   7    upon the navigable waters and/or adjoining shorelines from the rupture of, and injury
                   8    to, Defendants’ Pipeline. Commencing on or around May 19, 2015, in Santa Barbara
                   9    County, California, pressurized oil breached the corroded wall of the Pipeline, and oil
                   10   was discharged within the meaning of Section 1001(7) of OPA, 33 U.S.C. § 2701(7),
                   11   into or upon the navigable waters and/or adjoining shorelines from the rupture of, and
                   12   injury to, Defendants’ Pipeline.
                   13         59.    Prior to and leading up to the rupture of the Pipeline on May 19, 2015
                   14   (and at any time thereafter to the extent Defendants attempted to operate the Pipeline
                   15   without adequate repair and maintenance), as a result of Defendants’ failure to properly
                   16   maintain the Pipeline, Defendants’ facility posed the substantial threat of discharge of
                   17   oil into or upon the navigable waters and/or adjoining shorelines.
                   18         60.    Under the provisions of Section 1001(14) of OPA, the “incident” in this
                   19   case may be defined as the pressurized oil rupturing the corroded Pipeline, because that
                   20   rupture was caused by and resulted in the “discharge of oil” and damage to the Pipeline,
                   21   and the Pipeline shutdown arose from the discharge and was inevitable and necessary to
                   22   stop such discharge and to prevent further discharge. As the owners and/or operators
                   23   of the Pipeline at all times material hereto, each Defendant is liable and responsible for
                   24   damages specified under Section 1002(a) and (b)(2)(E) of OPA, 33 U.S.C. § 2702(a) and
                   25   (b)(2)(E), that result from the “incident.”
                   26         61.    In addition and/or in the alternative, under the provisions of Section
                   27   1001(14) of OPA, “incident” in this case also may be defined as Defendants’ ownership
                   28   and operation of an improperly maintained Pipeline (a facility) containing pressurized
   Tatro Tekosky
   Sadwick LLP                                                        20
                                                                                      Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                      SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 22 of 34 Page ID #:908


                   1    oil, which resulted in the discharge of oil (which pushed through the corroded portion
                   2    of the Pipeline) as well as the inevitable and necessary damage to the Pipeline and
                   3    shutdown of the Pipeline. In addition and/or in the alternative, under the provisions of
                   4    Section 1001(14) of OPA, “incident” in this case also may be defined as the
                   5    Defendants’ ownership and operation of an improperly maintained Pipeline (a facility)
                   6    containing pressurized oil , which created the substantial threat of further discharge of
                   7    oil, and the inevitable and necessary shutdown of the Pipeline to prevent the substantial
                   8    threat of discharge from occurring. As the owners and/or operators of the Pipeline at
                   9    all times material hereto, each Defendant is liable and responsible for damages specified
                   10   under Section 1002(a) and (b)(2)(E) of OPA, 33 U.S.C. § 2702(a) and (b)(2)(E), that
                   11   result from the “incident,” as defined.
                   12          62.    As alleged above, Defendants’ shutdown of the Pipeline on May 19, 2015
                   13   followed directly and inevitably from the discharge of oil, the substantial threat of
                   14   discharge, and/or because the Pipeline’s rupture by pressurized oil meant the ruptured
                   15   Pipeline could not be operated without causing further oil discharges. Unlike the
                   16   examples above in which a substantial threat of a discharge or a discharge may, but does
                   17   not inevitably, cause an outcome (e.g., a business interruption or a fire), the Pipeline
                   18   shutdown was the inevitable result of the discharge and/or substantial threat of
                   19   discharge of oil from the oil-ruptured and improperly-maintained Pipeline, and
                   20   Venoco’s damages inevitably resulted therefrom.
                   21          63.    Venoco has suffered damages at least equal to the loss of profits and
                   22   impairment of earning capacity resulting from the “incident” or “incidents” identified
                   23   above due to and resulting from the injury to the Pipeline in an amount to be proven at
                   24   trial, which amount grows on a daily basis, but which to date amount exceeds
                   25   $20,000,000, for which Defendants are liable pursuant to Section 1002(a) and (b)(2)(E)
                   26   of OPA, 33 U.S.C. § 2702( a) and (b)(2)(E).
                   27          64.    Defendants are liable to plaintiff Venoco for loss of profits and
                   28   impairment of earning capacity resulting from the “incident” or “incidents” described
   Tatro Tekosky
   Sadwick LLP                                                       21
                                                                                     Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                     SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 23 of 34 Page ID #:909


                   1    above due to and resulting from the injury, destruction, or loss of real property,
                   2    personal property, or natural resources pursuant to Section 1002(a) and (b)(2)(E) of
                   3    OPA, 33 U.S.C. § 2702(a) and (b)(2)(E). Venoco is also entitled to a declaratory
                   4    judgment establishing the liability of each Defendant for all past and future damages for
                   5    loss of profits or impairment of earning capacity resulting from the “incident” or
                   6    “incidents” identified above.
                   7                                SECOND CLAIM FOR RELIEF
                   8            Damages under Cal. Gov. Code § 8670.56.5 against all Defendants
                   9           65.      Venoco incorporates Paragraphs 1 through 64, inclusive, as though set
                   10   forth fully herein.
                   11          66.      Venoco is, and has been at all times material hereto, a “person” within the
                   12   meaning of Cal. Gov. Code Section 8670.3(s). Venoco is informed and believes, and on
                   13   that basis alleges, that each of the Defendants is, and has been at all times material
                   14   hereto, a “person” within the meaning of Cal. Gov. Code Section 8670.3(s).
                   15          67.      Defendants’ Pipeline in Santa Barbara County, California is, and has been
                   16   at all times material hereto, a “facility” within the meaning of Cal. Gov. Code Section
                   17   8670.3(g)(1).
                   18          68.      Venoco is informed and believes, and thereon alleges, that starting on an
                   19   exact date currently unknown to Venoco, but including the timeframe from on or about
                   20   May 19, 2015 to the current date, and including all times material herein, each
                   21   Defendant was (and is) an “operator” of a facility, to wit: the Pipeline, within the
                   22   meaning of Cal. Gov. Code Section 8670.3(r)(1).
                   23          69.      Venoco is informed and believes, and thereon alleges, that starting on an
                   24   exact date currently unknown to Venoco, but including the timeframe from on or about
                   25   May 19, 2015 to the current date, and including all times material herein, each
                   26   Defendant was (and is) an “owner” of a facility, to wit: the Pipeline, within the meaning
                   27   of Cal. Gov. Code Section 8670.3(r)(1).
                   28
   Tatro Tekosky
   Sadwick LLP                                                        22
                                                                                      Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                      SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 24 of 34 Page ID #:910


                   1          70.    Venoco is informed and believes, and thereon alleges, that starting on an
                   2    exact date currently unknown to Venoco, but including the timeframe from on or about
                   3    May 19, 2015 to the current date, and including all times material herein, each
                   4    Defendant was (and is) a “responsible party,” within the meaning of Cal. Gov. Code
                   5    Section 8670.3(w)(1).
                   6          71.    Crude oil is “oil” within the meaning of Cal. Gov. Code Section 8670.3(n).
                   7          72.    “Waters of the state” means “waters of the state” within the definition of
                   8    Cal. Gov. Code Section 8670.3(ag).
                   9          73.    On or around May 19, 2015, in Santa Barbara County, California, oil was
                   10   discharged within the meaning of Cal. Gov. Code Section 8670.3(aa) into or upon the
                   11   waters of the state from the rupture of, and injury to, Defendants’ Pipeline, which at all
                   12   times material herein is and was a “pipeline” within the meaning of Cal. Gov. Code
                   13   Section 8670.3(t). As each Defendant was at all times material herein the owner and or
                   14   operator of the Pipeline, and the responsible party for the discharge of the oil from the
                   15   Pipeline, each Defendant is liable and responsible for damages specified under Cal.
                   16   Gov. Code Section 8670.56.5(a) and (h)(6) that result from the discharge of oil when
                   17   pressurized oil in Defendants’ poorly-maintained Pipeline ruptured the wall of the
                   18   Pipeline, and the inevitable shutdown of the Pipeline resulting from that oil-caused
                   19   rupture and discharge of oil.
                   20         74.    Venoco has suffered damages equal to the loss of profits and impairment
                   21   of earning capacity arising out of or caused by the inevitable shutdown of the Pipeline
                   22   resulting from the discharge of oil when pressurized oil in Defendants’ Pipeline
                   23   ruptured the wall of the Pipeline and discharged to the waters of the Pacific Oceana and
                   24   elsewhere in an amount to be proven at trial, which amount grows on a daily basis, but
                   25   which amount, to date, exceeds $20,000,000. Defendants are liable to Venoco for such
                   26   damages pursuant to Cal. Gov. Code Section 8670.56.5(a) and (h)(6). Venoco derived at
                   27   least 25% of its earnings from activities that utilized the property or natural resources
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   Tatro Tekosky
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                                                                                     Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                     SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 25 of 34 Page ID #:911


                   1    injured, destroyed or lost, including the Pipeline and services on or related to the
                   2    Pipeline.
                   3           75.    Defendants are liable to plaintiff Venoco for loss of profits and
                   4    impairment of earning capacity resulting from the inevitable shutdown of the Pipeline
                   5    resulting from the injury to Defendants’ Pipeline and the discharge of oil from
                   6    Defendants’ ruptured Pipeline into the waters of the Pacific Ocean and elsewhere
                   7    pursuant to Cal. Gov. Code Section 8670.56.5(a) and (h)(6). Venoco is also entitled to a
                   8    declaratory judgment establishing the liability of Defendants for all past and future
                   9    damages for loss of profits and impairment of earning capacity resulting from the
                   10   inevitable shutdown of the Pipeline resulting from the discharge of oil when pressurized
                   11   oil in Defendants’ Pipeline ruptured the wall of the Pipeline and was discharged to the
                   12   waters of the Pacific Ocean and elsewhere.
                   13          76.    Defendants are liable to plaintiff Venoco for reasonable costs of suit,
                   14   attorneys’ fees, and the costs of necessary expert witnesses pursuant to Cal. Gov. Code
                   15   Section 8670.56.5(f).
                   16                               THIRD CLAIM FOR RELIEF
                   17                For Negligence/Gross Negligence against all Defendants
                   18          77.    Venoco incorporates Paragraphs 1 through 76, inclusive, as though set
                   19   forth fully herein.
                   20          78.    Defendants owed a duty of care to Venoco to exercise reasonable and
                   21   ordinary care in maintaining and operating the Pipeline in good and working condition
                   22   so as to avoid a rupture thereof and injury thereto, and so as to avoid a discharge of oil
                   23   (and substantial threat of a discharge of oil) as described herein that resulted in injury to
                   24   (i.e., disruption of) services on and related to the Pipeline. That duty arose from, among
                   25   other things, federal, state, and local laws that require Defendants to operate a pipeline
                   26   in a manner that does not damage public health and safety, as well as the Local Tariff,
                   27   pursuant to which Defendants operated as common carriers. Defendants’ Pipeline,
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   Tatro Tekosky
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                                                                                      Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                      SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 26 of 34 Page ID #:912


                   1    moreover, had a sole purpose: to transport oil from platforms such as the Holly
                   2    platform.
                   3           79.     Defendants knew or should have known that if they failed to exercise
                   4    reasonable care in maintaining and operating the Pipeline in good and working
                   5    condition and/or in accordance with federal, state, and local law, the Pipeline could
                   6    rupture or otherwise fail, resulting in a discharge of oil (and substantial threat of a
                   7    discharge of oil) and disruption of services, as described herein, and damage would
                   8    result to Venoco in connection with Venoco’s Holly platform being shut-in. Venoco’s
                   9    loss of use of the Holly platform was a direct, foreseeable, inevitable, and necessary
                   10   consequence of Defendants’ negligence and/or gross negligence.
                   11          80.     Defendants breached, and are continuing to breach, their duty of care to
                   12   Venoco by failing to maintain, monitor, and operate the Pipeline in good and working
                   13   condition, resulting in the rupture of the Pipeline, a significant release of pressurized
                   14   crude oil, and injury to (i.e., disruption of) services and operations of and related to the
                   15   Pipeline, and further resulting in Venoco’s Holly platform being shut-in.
                   16          81.     In addition, in so doing, Defendants violated several statutes, ordinances,
                   17   or regulations, including but not limited to the Lempert-Keene Act, Government Code
                   18   Section 8670, et seq., the Porter-Cologne Act, Water Code Sections 13000, et seq., Cal.
                   19   Fish & Game Code Section 5650, et seq., the Federal Clean Water Act, 33 U.S.C. § 1251
                   20   et seq., and state and federal spill response and notification laws, which are designed to
                   21   prevent the type of rupture and discharge of oil (and substantial threat of a discharge of
                   22   oil) that occurred on Defendants’ Pipeline.
                   23          82.     As a proximate result of Defendants’ negligence and/or gross negligence
                   24   and violations of statutes, ordinances, and/or regulations as herein alleged, Venoco has
                   25   been, and will continue to be, injured, harmed and damaged in an amount to be proven
                   26   at trial, which amount grows on a daily basis, but which amount, to date, exceeds
                   27   $20,000,000.
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   Tatro Tekosky
   Sadwick LLP                                                        25
                                                                                      Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                      SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 27 of 34 Page ID #:913


                   1                                FOURTH CLAIM FOR RELIEF
                   2                          For Willful Misconduct against all Defendants
                   3           83.    Venoco incorporates Paragraphs 1 through 82, inclusive, as though set
                   4    forth fully herein.
                   5           84.    Defendants had actual or constructive knowledge of the corrosion of the
                   6    Pipeline.
                   7           85.    Defendants had actual or constructive knowledge that the corrosion of the
                   8    Pipeline, in combination with the pressurized oil traveling through it, created a
                   9    significant peril to the environment and others, including Venoco.
                   10          86.    Defendants had actual or constructive knowledge that injury to Venoco in
                   11   connection with Venoco’s Holly platform being shut-in was a likely and highly and
                   12   substantially probable result of the rupture of the Pipeline and the resulting discharge of
                   13   oil (and substantial threat of a discharge of oil) and injury to services on or related to the
                   14   Pipeline.
                   15          87.    Defendants unreasonably, and in disregard of the known risks or risks so
                   16   obvious Defendants must have been aware of them, consciously failed to act to avoid
                   17   the damage to and rupture of the Pipeline (and the resulting discharge of oil (and
                   18   substantial threat of a discharge of oil) and injury to services on or related to the
                   19   Pipeline) and resulting harm to the environment and, among others, Venoco.
                   20          88.    As a proximate result of Defendants’ conduct as herein alleged, Venoco
                   21   has been, and will continue to be, injured, harmed and damaged in an amount to be
                   22   proven at trial, which amount grows on a daily basis, but which amount, to date,
                   23   exceeds $20,000,000.
                   24          89.    Defendants acted with malice, i.e., despicable conduct carried on with a
                   25   willful and conscious disregard of the rights or safety of others, and oppression, i.e.,
                   26   despicable conduct subjecting Venoco to cruel and unjust hardship in conscious
                   27   disregard of its rights.
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                                                                                      Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                      SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 28 of 34 Page ID #:914


                   1                                 FIFTH CLAIM FOR RELIEF
                   2     For Intentional Interference with Contractual Relations against all Defendants
                   3           90.    Venoco incorporates Paragraphs 1 through 89, inclusive, as though set
                   4    forth fully herein.
                   5           91.    Venoco had a valid contract and an economic relationship with Phillips by
                   6    which Venoco sold, and Phillips purchased, crude oil produced from Venoco’s Holly
                   7    platform.
                   8           92.    Defendants knew of Venoco’s contract and economic relationship with
                   9    Phillips.
                   10          93.    Defendants knew that their conduct in failing to properly maintain,
                   11   monitor, and operate the Pipeline, and/or discharging crude oil (and/or causing a
                   12   substantial threat of a discharge of oil) would inevitably result in the Pipeline’s
                   13   shutdown and cause injury to (i.e., disruption of) services on or related to the Pipeline.
                   14   Defendants also knew that Venoco’s contract with Phillips necessarily required Phillips
                   15   to be able to transport the oil purchased from Venoco through the Pipeline. Defendants
                   16   also knew that without access to the Pipeline, such transportation would be too
                   17   expensive and/or not feasible. Accordingly, Defendants knew that the disruption of and
                   18   interference with Venoco’s contract with Phillips was certain or substantially certain to
                   19   occur as a result of their conduct.
                   20          94.    Defendants were negligent, grossly negligent, and consciously failed to act
                   21   to avoid the damage to and rupture of the Pipeline (and the resulting discharge of oil
                   22   (and substantial threat of a discharge of oil) and injury to (i.e., disruption of) services on
                   23   or related to the Pipeline) and resulting harm to the environment and, among others,
                   24   Venoco, by failing to properly maintain, monitor, and operate the Pipeline in good and
                   25   working condition.
                   26          95.    Defendants’ conduct as described herein resulted in the rupture of the
                   27   Pipeline, a significant crude oil discharge (and substantial threat of a discharge of oil),
                   28   injury to services on and related to, and disruption of operations of, the Pipeline, and
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   Sadwick LLP                                                        27
                                                                                      Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                      SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 29 of 34 Page ID #:915


                   1    resulted in Venoco’s Holly platform being shut-in and Venoco’s contractual relationship
                   2    with Phillips being disrupted and interfered with inasmuch as Venoco has been unable
                   3    to sell crude oil from its Holly platform to Phillips.
                   4           96.     As a proximate result of Defendants’ conduct as herein alleged, Venoco
                   5    has been, and will continue to be, injured, harmed and damaged in an amount to be
                   6    proven at trial, which amount grows on a daily basis, but which amount, to date,
                   7    exceeds $20,000,000.
                   8                                  SIXTH CLAIM FOR RELIEF
                   9     For Interference with Prospective Economic Advantage against all Defendants
                   10          97.     Venoco incorporates Paragraphs 1 through 96, inclusive, as though set
                   11   forth fully herein.
                   12          98.     An economic relationship existed between Venoco and Phillips which
                   13   contained a reasonably probable future economic benefit or advantage to Venoco, by
                   14   which Venoco would sell, and Phillips would purchase, crude oil produced from
                   15   Venoco’s Holly platform. Venoco had a reasonable expectation that Phillips would
                   16   continue to purchase the crude oil produced from its Holly platform and that, if Phillips
                   17   did not do so for any reason, Venoco could and would sell such crude oil to another
                   18   third party.
                   19          99.     Defendants knew of the existence of Venoco’s relationship with Phillips,
                   20   and of the reasonable expectation that the crude oil produced from Venoco’s Holly
                   21   platform could and would be sold to another third party if Phillips did not continue to
                   22   purchase it for any reason.
                   23          100. Defendants knew or should have known that if they did not act with due
                   24   care, their actions would interfere with Venoco’s relationship with Phillips and/or other
                   25   third party, and cause Venoco to lose, in whole or in part, the probable future economic
                   26   benefit or advantage of the relationship. Defendants knew that Venoco’s relationship
                   27   with Phillips and/or other third party would necessarily require Phillips (or other third
                   28   party) to be able to transport the oil purchased from Venoco through the Pipeline.
   Tatro Tekosky
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                                                                                      Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                      SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 30 of 34 Page ID #:916


                   1    Defendants also knew that without access to the Pipeline, such transportation would be
                   2    too expensive and/or not feasible. Accordingly, Defendants knew that the disruption of
                   3    and interference with Venoco’s economic relationship with Phillips and/or other third
                   4    party was certain or substantially certain to occur as a result of their conduct.
                   5           101. Defendants were negligent, grossly negligent, and consciously failed to act
                   6    to avoid the damage to and rupture of the Pipeline (and the resulting discharge of oil
                   7    and injury to services on or related to the Pipeline) and resulting harm to the
                   8    environment and others, including Venoco, by failing to properly maintain, monitor,
                   9    and operate the Pipeline in good and working condition.
                   10          102. Defendants’ conduct resulted in the rupture of the Pipeline, a significant
                   11   crude oil discharge (and substantial threat of a discharge of oil), injury to services on and
                   12   related to, and disruption of operations of, the Pipeline, and further resulted in
                   13   Venoco’s Holly platform being shut-in and caused Venoco’s relationship with Phillips
                   14   or other third-party to be disrupted inasmuch as Venoco has been unable to sell crude
                   15   oil from its Holly platform to Phillips or anyone else.
                   16          103. As a proximate result of Defendants’ conduct, Venoco has been, and will
                   17   continue to be, injured, harmed and damaged in an amount to be proven at trial, which
                   18   amount grows on a daily basis, but which amount, to date, exceeds $20,000,000.
                   19                             SEVENTH CLAIM FOR RELIEF
                   20                         For Declaratory Relief against all Defendants
                   21          104. Venoco incorporates Paragraphs 1 through 103, inclusive, as though set
                   22   forth fully herein.
                   23          105. An actual, substantial, and justiciable controversy exists between Venoco
                   24   and each Defendant regarding their respective rights and obligations for further
                   25   damages that will be incurred by Venoco in connection with Venoco’s Holly platform
                   26   being shut-in by the injury to (i.e., disruption of) services resulting from the rupture of
                   27   Defendants’ Pipeline involving a discharge of oil.
                   28          106. Pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201–2202,
   Tatro Tekosky
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                                                                                      Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                      SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 31 of 34 Page ID #:917


                   1    Venoco seeks a declaratory judgment against each Defendant that will be binding in any
                   2    subsequent action to recover further damages, including pursuant to Section 1002(a)
                   3    and (b)(2)(E) of OPA, 33 U.S.C. § 2702( a) and (b)(2)(E), pursuant to Cal. Gov. Code
                   4    Section 8670.56.5(a) and (h)(6), and pursuant to California common law, holding each
                   5    Defendant strictly liable for all further damages for loss of profits and impairment of
                   6    earning capacity to be incurred by Venoco in connection with Venoco’s Holly platform
                   7    being shut-in by the injury to (i.e., disruption of) services resulting from the rupture of
                   8    Defendants’ Pipeline involving a discharge of oil.
                   9           107. Pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201–2202,
                   10   Venoco seeks a declaratory judgment against each Defendant that will be binding in any
                   11   subsequent action to recover further damages pursuant to Cal. Gov. Code Section
                   12   8670.56.5(a) and (h)(6), holding each Defendant strictly liable for all further damages for
                   13   loss of profits and impairment of earning capacity to be incurred by Venoco in
                   14   connection with the injury to Defendants’ Pipeline and to the services of thereof.
                   15          108. Pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201–2202,
                   16   Venoco seeks a declaratory judgment against each Defendant that will be binding in any
                   17   subsequent action, holding each Defendant liable to Venoco for negligence/gross
                   18   negligence, willful misconduct, interference with contractual relations, and interference
                   19   with prospective economic advantage, for all further damages for loss of profits and
                   20   impairment of earning capacity to be incurred by Venoco in connection with Venoco’s
                   21   Holly platform being shut-in by the injury to (i.e., disruption of) services resulting from
                   22   the rupture of Defendants’ Pipeline involving a discharge of oil and significant threat of
                   23   further discharge.
                   24                                   PRAYER FOR RELIEF
                   25          104. Wherefore, Venoco prays for judgment as follows:
                   26                 a. That Defendants are liable to Venoco for all damages for loss of profits
                   27                    and impairment of earning capacity incurred, and to be incurred, by
                   28                    Venoco in connection with Venoco’s Holly platform being shut-in
   Tatro Tekosky
   Sadwick LLP                                                       30
                                                                                      Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                      SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 32 of 34 Page ID #:918


                   1             because of the pressurized oil in Defendants’ corroded Pipeline
                   2             rupturing and injuring the Pipeline, causing discharge of oil and/or
                   3             because of the substantial threat of further discharge of oil caused by
                   4             Defendants’ failure to maintain the Pipeline described above, and the
                   5             resulting injury to services on or related to the Pipeline;
                   6          b. For the reasonable cost of estimating the lost profit and impairment of
                   7             earning capacity damages claimed by Venoco because of the
                   8             pressurized oil in Defendants’ corroded Pipeline rupturing and injuring
                   9             the Pipeline, causing discharge of oil and/or because of the substantial
                   10            threat of further discharge of oil caused by Defendants’ failure to
                   11            maintain the Pipeline described above and the resulting injury to
                   12            services on or related to the Pipeline;
                   13         c. For compensatory damages in an amount to be proven at trial;
                   14         d. For reasonable costs of suit, attorneys’ fees, and the costs of necessary
                   15            expert witnesses pursuant to Cal. Gov. Code Section 8670.56.5(f);
                   16         e. For a declaration against Defendants holding each Defendant strictly
                   17            liable for all further damages pursuant to pursuant to Section 1002(a)
                   18            and (b)(2)(E) of OPA, 33 U.S.C. § 2702( a) and (b)(2)(E) for loss of
                   19            profits and impairment of earning capacity incurred, and to be incurred,
                   20            by Venoco in connection with Venoco’s Holly platform being shut-in
                   21            because of the incident and/or incidents described;
                   22         f. For a declaration against Defendants holding each Defendant strictly
                   23            liable for all further damages pursuant to Cal. Gov. Code Section
                   24            8670.56.5(a) and (h)(6) for loss of profits and impairment of earning
                   25            capacity incurred, and to be incurred, by Venoco in connection with
                   26            Venoco’s Holly platform being shut-in as a result of the discharge of oil
                   27            when pressurized oil in Defendants’ Pipeline ruptured the wall of the
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   Tatro Tekosky
   Sadwick LLP                                               31
                                                                             Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                             SECOND AMENDED COMPLAINT; JURY DEMAND
            Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 33 of 34 Page ID #:919


                   1                      Pipeline and was discharged to the waters of the Pacific Ocean and
                   2                      elsewhere;
                   3                  g. For a declaration holding each Defendant liable for negligence/gross
                   4                      negligence, willful misconduct, interference with contractual relations,
                   5                      and interference with prospective economic advantage, for all further
                   6                      damages for loss of profits and impairment of earning capacity
                   7                      incurred, and to be incurred, by Venoco in connection with Venoco’s
                   8                      Holly platform being shut-in because of the facts alleged herein.
                   9                  h. For punitive and exemplary damages;
                   10                 i. That Venoco be awarded its costs of suit in this matter; and
                   11                 j. For such other and further relief as this Court may deem necessary, just
                   12                     and proper.
                   13                                  DEMAND FOR JURY TRIAL
                   14           Plaintiff Venoco hereby demands a trial by jury of all issues triable of right by a
                   15   jury.
                   16

                   17   Dated: October 19, 2016                   TATRO TEKOSKY SADWICK LLP
                   18
                                                                  By:_/s/ Steven R. Tekosky________________
                   19
                                                                         Steven R. Tekosky, Esq.
                   20                                                    Attorneys for Plaintiff Venoco, LLC,
                                                                         formerly known as Venoco, Inc.
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   Sadwick LLP                                                        32
                                                                                      Case No. 2:16-cv-2988-PSG-JEM
ATTORNEYS AT LAW



                                                                      SECOND AMENDED COMPLAINT; JURY DEMAND
Case 2:16-cv-02988-PSG-JEM Document 78 Filed 10/19/16 Page 34 of 34 Page ID #:920


   1                                CERTIFICATE OF SERVICE
   2
            I hereby certify that on this 19th day of October, 2016, I electronically filed
   3
       SECOND AMENDED COMPLAINT FOR:
   4
       (1) Federal Oil Pollution Act of 1990 (Damages under 33 U.S.C. § 2702);
       (2) California Lempert-Keene-Seastrand Oil Spill Prevention and Response Act
   5
           (Damages under Cal. Gov. Code § 8670.56.5);
       (3) Negligence/Gross Negligence;
   6
       (4) Willful Misconduct;
       (5) Intentional Interference with Contractual Relations;
   7
       (6) Interference with Prospective Economic Advantage; and
       (7) Declaratory Relief
   8
       JURY TRIAL DEMANDED

   9
       with the Clerk of the court using the CM/ECF system, which will send a notification of
       such filing (NEF) to the following:
  10

  11   Thomas P. Clancy
       Jordan X. Navarrette                             Robert J. Nelson
  12   Brad Brian                                       Sarah R. London
  13   Daniel Levin                                     Lieff Cabraser Heimann & Bernstein, LLP
       Henry Weissmann                                  275 Battery Street, 29th Floor
  14   Laura Wirth                                      San Francisco, CA 94111-3339
       Munger Tolles & Olson LLP
  15   355 South Grand Avenue, 35th floor
       Los Angeles, CA 90071
  16

  17
                                                         /s/ Karen L. Roberts
  18                                                     Karen L. Roberts
  19

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